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                               Nebraska Supreme Court Advance Sheets
                                        305 Nebraska Reports
                                        IN RE INTEREST OF TAESON D.
                                               Cite as 305 Neb. 279



                                   In re Interest of Taeson D., a child
                                          under 18 years of age.
                                      State of Nebraska, appellee, v.
                                           Samuel T., appellant.
                                                  ___ N.W.2d ___

                                        Filed March 13, 2020.    No. S-19-382.

                 1. Parental Rights: Due Process. Whether a parent who is incarcerated
                    or otherwise confined in custody has been afforded procedural due
                    proc­ess for a hearing to terminate parental rights is within the discre-
                    tion of the trial court, whose decision on appeal will be upheld in the
                    absence of an abuse of discretion.
                 2. Juvenile Courts: Appeal and Error. Juvenile cases are reviewed de
                    novo on the record, and an appellate court is required to reach a conclu-
                    sion independent of the juvenile court’s findings.
                 3. Parental Rights: Due Process. An incarcerated parent’s physical pres-
                    ence is not necessary at a hearing to terminate parental rights, provided
                    that the parent has been afforded procedural due process.
                 4. ____: ____. The initiative is properly placed on the parent or the par-
                    ent’s attorney to notify the court of the parent’s incarceration and to
                    request to appear telephonically at the hearing to terminate paren-
                    tal rights.
                 5. Juvenile Courts: Parental Rights: Due Process. The juvenile court
                    has discretion to determine how an incarcerated parent may meaning-
                    fully participate in the hearing on the termination of his or her parental
                    rights consistent with due process.

                 Appeal from the Separate Juvenile Court of Lancaster
               County: Reggie L. Ryder, Judge. Affirmed.

                    Troy J. Bird, of Hoppe Law Firm, L.L.C., for appellant.
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         Nebraska Supreme Court Advance Sheets
                  305 Nebraska Reports
                  IN RE INTEREST OF TAESON D.
                         Cite as 305 Neb. 279
  Pat Condon, Lancaster County Attorney, Mary Norrie, and
Danielle M. Kerr for appellee.
  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
Papik, and Freudenberg, JJ.
   Miller-Lerman, J.
                      NATURE OF CASE
   Samuel T. appeals the termination of his parental rights
to his minor child, Taeson D. During the pendency of these
proceedings, Samuel became incarcerated in South Carolina,
serving a 30-year sentence. Following a termination hearing
at which Samuel was represented by counsel but not present,
the separate juvenile court of Lancaster County determined
that (1) Samuel substantially neglected to give Taeson neces-
sary parental care; (2) Taeson was a juvenile as described by
Neb. Rev. Stat. § 43-247(3)(a) (Reissue 2016) and reasonable
efforts have failed to correct conditions; (3) Taeson was in an
out-of-home placement for 15 or more months of the most
recent 22 months; (4) it was in the best interests of Taeson
to terminate Samuel’s parental rights; and (5) Samuel was
unfit to parent Taeson. The juvenile court terminated Samuel’s
parental rights to Taeson on three statutory bases as more fully
described below. Samuel appeals. He claims that his proce-
dural due process rights were violated and that the juvenile
court erred when it terminated his parental rights to Taeson.
We affirm.
                              FACTS
   Taeson was born in July 2017. The Nebraska Department of
Health and Human Services (DHHS) took custody of Taeson at
the hospital shortly after his birth because his biological mother
had admitted to methamphetamine use during pregnancy and
the meconium fluid had tested positive for methamphetamine.
Taeson’s biological mother relinquished her parental rights in
late 2018. Taeson was placed with Lachrisha T., Samuel’s adult
daughter, who has cared for Taeson since birth.
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         Nebraska Supreme Court Advance Sheets
                  305 Nebraska Reports
                  IN RE INTEREST OF TAESON D.
                         Cite as 305 Neb. 279
   Samuel was present at the hospital for Taeson’s birth. Samuel
and the child apparently had almost no further contact after this
point. Samuel became incarcerated in November 2017 on what
the record suggests was a drug-related offense.
   In December 2017, a paternity test showed that Samuel
was the biological father of Taeson. Candace Sturgeon, a
caseworker with DHHS, unsuccessfully attempted to contact
Samuel through Lachrisha and other means. Sturgeon eventu-
ally located Samuel through a DHHS computer system search
and visited him at the jail in Saline County, Nebraska, in June
2018. She testified at the termination hearing that she informed
Samuel that the result of the paternity test he had taken showed
he was Taeson’s biological father. According to Sturgeon,
Samuel stated that he had assumed he probably was Taeson’s
father, that he was aware Taeson was living with Lachrisha,
and that he had personally recommended that Taeson be placed
with her after the child was removed from his biological
mother’s care.
   According to Sturgeon, Samuel had indicated he sup-
ported Lachrisha’s potentially adopting Taeson. According to
Sturgeon, Samuel stated “something to the effect of well I
obviously am not an option since I’m going to be in prison
for 30 years, so I understand that.” Sturgeon testified that she
advised Samuel that he needed to keep her updated on his
whereabouts, because it would be very difficult for her to know
where he was if he was transferred.
   Samuel asked Lachrisha to bring the child to county jail
one time, but before arrangements could be made, Samuel was
transferred to federal prison in South Carolina on a 30-year
sentence. After the transfer, Samuel did not communicate with
Sturgeon or DHHS to update them on his whereabouts or to
contact Taeson. Sturgeon testified that she made largely unsuc-
cessful efforts to contact Samuel multiple ways at least once
a month.
   Turner attended a paternity hearing on June 6, 2018, at
which he was declared Taeson’s legal father. In October 2018,
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         Nebraska Supreme Court Advance Sheets
                  305 Nebraska Reports
                  IN RE INTEREST OF TAESON D.
                         Cite as 305 Neb. 279
the State moved to terminate Samuel’s and the biological
mother’s parental rights. The motion to terminate alleged
three grounds under Neb. Rev. Stat. § 43-292 (Reissue 2016),
which states:
         The court may terminate all parental rights between
      the parents or the mother of a juvenile born out of wed-
      lock and such juvenile when the court finds such action
      to be in the best interests of the juvenile and it appears
      by the evidence that one or more of the following condi-
      tions exist:
         ....
         (2) The parents have substantially and continuously
      or repeatedly neglected and refused to give the juvenile
      or a sibling of the juvenile necessary parental care and
      protection;
         ....
         (6) Following a determination that the juvenile is one
      as described in subdivision (3)(a) of section 43-247,
      reasonable efforts to preserve and reunify the family if
      required under section 43-283.01, under the direction of
      the court, have failed to correct the conditions leading to
      the determination;
         (7) The juvenile has been in an out-of-home placement
      for fifteen or more months of the most recent twenty-two
      months.
   On November 19, 2018, Samuel was served in prison in
South Carolina with a copy of the motion to terminate his
parental rights and a summons to appear before the court for a
hearing on the matter. In December, Samuel denied the allega-
tions in the motion to terminate and the termination hearing
was continued.
   In December 2018, Sturgeon left a message with a case-
worker at the South Carolina prison and Samuel called her
back. During that telephone call, Sturgeon explained to
Samuel that the State was moving to terminate his parental
rights. Samuel stated that he did not want his parental rights
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         Nebraska Supreme Court Advance Sheets
                  305 Nebraska Reports
                  IN RE INTEREST OF TAESON D.
                         Cite as 305 Neb. 279
terminated and that he no longer approved of Taeson’s being
placed with Lachrisha. He explained that Lachrisha was not
“put[ting] any money on his books” and had stopped commu-
nicating with him. Samuel stated that he hoped he would be
successful in the appeal of his criminal conviction and that his
intent was to win his appeal and parent Taeson.
   Sturgeon testified that Samuel did not make further contact
with DHHS after December 2018. At the time of the termina-
tion hearing in March 2019, Samuel had been in prison in
South Carolina for 8 months. Taken as a whole, the testimony
showed that Samuel had not attempted to be involved in
Taeson’s life either before or after his incarceration. Samuel
had not requested photographs of Taeson and had not contacted
him after his birth. Sturgeon explained that the service DHHS
typically offers to parents who are incarcerated is visitation
with the child; however, it is very difficult to offer services
if someone is placed out of state and it is impossible to offer
serv­ices to someone that DHHS is unable to contact. She testi-
fied that, in her view, Samuel’s parental rights should be termi-
nated even if he wins his appeal on his criminal case because it
is unclear how long it would take him to work through a case
with DHHS and ensure he could care for a child.
   The termination hearing was held on March 13, 2019. The
child was represented by a guardian ad litem, and counsel
appeared for the State.
   Samuel was represented throughout the termination hearing
by an attorney. Samuel did not appear physically or telephoni-
cally. The juvenile court recognized that Samuel denied the
allegations in the motion to terminate. Samuel’s counsel was
asked to address Samuel’s nonappearance, and Samuel’s coun-
sel stated as follows:
      Well, Your Honor, he’s incarcerated in North [sic]
      Carolina penitentiary system. I’ve had communication
      with him be [sic] email on and off throughout the last six
      weeks or so. I know that he does object to what — having
      his rights terminated. I’ve also tried to communicate with
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         Nebraska Supreme Court Advance Sheets
                  305 Nebraska Reports
                  IN RE INTEREST OF TAESON D.
                         Cite as 305 Neb. 279
      him regarding relinquishment, which he’s been unable to
      or unwilling to sign a relinquishment, and so you know,
      I can’t imagine the Court is going to continue this out
      for 30 years ’til he can put himself in a place where he
      can parent, so I see no other alternative but moving for-
      ward today.
   Following the hearing, the juvenile court filed an order
which found that the allegations of the motion for termina-
tion of parental rights were true by clear and convincing evi-
dence. The court enumerated its findings that (1) regarding
§ 43-292(2), Samuel substantially neglected to give Taeson
necessary parental care; (2) regarding § 43-292(6), Taeson
was a juvenile as described by § 43-247(3)(a) and reason-
able efforts have failed to correct conditions; (3) regarding
§ 43-292(7), Taeson was in an out-of-home placement for 15
or more months of the most recent 22 months; (4) it was in the
best interests of Taeson to terminate Samuel’s parental rights;
and (5) Samuel was unfit to parent Taeson now and in the
future. The juvenile court terminated Samuel’s parental rights
to Taeson.
   Samuel appeals.
                  ASSIGNMENTS OF ERROR
   On appeal, Samuel claims, summarized and restated, that
(1) he was denied procedural due process rights at the termina-
tion hearing and (2) the juvenile court erred when it terminated
his parental rights because DHHS had failed to make reason-
able efforts to reunite him and Taeson.
                 STANDARDS OF REVIEW
   [1] Whether a parent who is incarcerated or otherwise con-
fined in custody has been afforded procedural due process for
a hearing to terminate parental rights is within the discretion
of the trial court, whose decision on appeal will be upheld
in the absence of an abuse of discretion. See In re Interest
of Mainor T. &amp; Estela T., 267 Neb. 232, 674 N.W.2d 442(2004).
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         Nebraska Supreme Court Advance Sheets
                  305 Nebraska Reports
                  IN RE INTEREST OF TAESON D.
                         Cite as 305 Neb. 279
  [2] Juvenile cases are reviewed de novo on the record, and
an appellate court is required to reach a conclusion indepen-
dent of the juvenile court’s findings. See In re Interest of Zoie
H., 304 Neb. 868, 937 N.W.2d 801 (2020).

                           ANALYSIS
Due Process.
   Samuel, who was incarcerated in South Carolina, had his
parental rights to Taeson terminated at a hearing at which he
was represented by counsel; he was not physically present nor
did he participate telephonically. In Samuel’s brief, he contends
that he was denied due process generally because he did not
appear “in some fashion,” brief for appellant at 12, and, in par-
ticular, he was denied a “telephonic or video hearing,” brief for
appellant at 9. We determine that under the facts of this case,
Samuel was not denied due process.
   [3] It is settled in Nebraska, and Samuel agrees, that an
incarcerated parent’s physical presence is not necessary at a
hearing to terminate parental rights, provided that the parent
has been afforded procedural due process. See, In re Interest of
Mainor T. &amp; Estela T., supra; In re Interest of L.V., 240 Neb.
404, 482 N.W.2d 250 (1992). The fundamental requirement of
due process is the opportunity to be heard “‘at a meaningful
time and in a meaningful manner.’” Mathews v. Eldridge, 424
U.S. 319, 333, 96 S. Ct. 893, 47 L. Ed. 2d 18 (1976). We have
explained that a juvenile court must consider several factors in
determining whether to allow a parent’s attendance, which fac-
tors are as follows:
      the delay resulting from prospective parental attendance,
      the need for disposition of the proceeding within the
      immediate future, the elapsed time during which the
      proceeding has been pending before the juvenile court,
      the expense to the State if the State will be required to
      provide transportation for the parent, the inconvenience or
      detriment to parties or witnesses, the potential danger or
      security risk which may occur as a result of the parent’s
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          Nebraska Supreme Court Advance Sheets
                   305 Nebraska Reports
                  IN RE INTEREST OF TAESON D.
                         Cite as 305 Neb. 279
      release from custody or confinement to attend the hear-
      ing, the reasonable availability of the parent’s testimony
      through a means other than parental attendance at the
      hearing, and the best interests of the parent’s child or
      children in reference to the parent’s prospective physical
      attendance at the termination hearing.
In re Interest of L.V., 240 Neb. at 416, 482 N.W.2d at 258-59.
   [4] With respect to the participation of the incarcerated par-
ent, we have stated that in most situations, in order to trigger
the requirements of In re Interest of L.V., the initiative is prop-
erly placed on the parent or the parent’s attorney to notify the
court of the parent’s incarceration and to request attendance.
See In re Interest of Mainor T. &amp; Estela T., supra. We logi-
cally apply this principle to an incarcerated parent’s request to
appear telephonically. In the present case, no such request was
made and, to the contrary as seen in the material quoted above,
such appearance was waived.
   [5] We are aware of jurisdictions which require juvenile
courts to either give incarcerated parents the opportunity to
participate by telephone in the entire hearing, e.g., In Interest
of M.D., 921 N.W.2d 229 (Iowa 2018) (amended Mar. 5, 2019),
or offer an alternative procedure by which the incarcerated
parent may review a transcript of the record of the evidence
presented against him or her and testify later at a bifurcated
hearing. See, E.J.S. v. Dept. of Health &amp; Soc. Serv., 754 P.2d
749 (Alaska 1988); In re Randy Scott B., 511 A.2d 450 (Me.
1986). However, in light of a juvenile court’s relative inabil-
ity to compel an out-of-state correctional facility to allow
an incarcerated parent to participate in an entire hearing, we
decline to require juvenile courts to follow a rigid procedure of
telephonic participation for the entire hearing in all cases. Like
several other jurisdictions that have thoroughly considered the
issue, we leave it to the juvenile courts’ discretion to determine
how an incarcerated parent may meaningfully participate in the
hearing on the termination of his or her parental rights consist­
ent with due process. See, In re C.G., 954 N.E.2d 910 (Ind.
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          Nebraska Supreme Court Advance Sheets
                   305 Nebraska Reports
                  IN RE INTEREST OF TAESON D.
                         Cite as 305 Neb. 279
2011) (cases collected); In re D.C.S.H.C., 733 N.W.2d 902(N.D. 2007); State ex rel. Jeanette H. v. Pancake, 207 W. Va.
154, 529 S.E.2d 865 (2000).
   In this case, Samuel was aware that Taeson was adjudicated
as a juvenile under § 43-247(3)(a). Samuel received notice of
the termination hearing, filed a pleading denying the allega-
tions, and was represented by counsel throughout the termi-
nation proceeding. Compare In re Interest of Davonest D. et
al., 19 Neb. App. 543, 809 N.W.2d 819 (2012) (concluding
due process violated for inmate who was neither present nor
represented by counsel at termination hearing). The record
shows that Samuel had been communicating with counsel and
that Samuel’s counsel cross-examined the witness and had the
opportunity to present evidence, which he declined. Samuel did
not request to be present or telephonically participate at the ter-
mination hearing and did not request a continuance. The hear-
ing on parental termination had already been continued twice,
and the juvenile court properly exercised its discretion when it
conducted the hearing with Samuel’s interests represented by
counsel. Samuel was not denied procedural due process under
the circumstances.

Termination.
   Samuel contends that the juvenile court erred when it termi-
nated his parental rights under § 43-292(6) because the State
did not make reasonable efforts to reunite him with Taeson.
See Neb. Rev. Stat. § 43-283.01 (Cum. Supp. 2018) and
§ 43-292(6). We reject this assignment of error.
   The juvenile court found sufficient evidence existed under
§ 43-292(2), (6), and (7) to support a termination of Samuel’s
parental rights. We have held that any one of the bases for ter-
mination of parental rights codified by § 43-292 can serve as
the basis for the termination of parental rights when coupled
with evidence that termination is in the best interests of the
child. In re Interest of Sir Messiah T. et al., 279 Neb. 900, 782
N.W.2d 320 (2010).
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         Nebraska Supreme Court Advance Sheets
                  305 Nebraska Reports
                  IN RE INTEREST OF TAESON D.
                         Cite as 305 Neb. 279
   Samuel has not raised a challenge to the sufficiency of the
evidence establishing that under § 43-292(2), he substantially
and continuously or repeatedly neglected and refused to give
Taeson necessary parental care and protection, or that under
§ 43-292(7), Taeson had been in an out-of-home placement
for 15 or more months of the most recent 22 months. Each of
these subsections is a statutory basis for termination. See In re
Interest of Sir Messiah T. et al., supra. We find support in the
record establishing grounds for termination under § 43-292(2)
and (7). In addition, the evidence demonstrates that termination
of Samuel’s parental rights is in the best interests of Taeson. At
the time of the proceedings, Samuel had virtually no relation-
ship with Taeson and there was no evidence that Samuel had
taken steps to establish a relationship. Samuel was sentenced
on a drug-related offense to be incarcerated for the entirety of
Taeson’s juvenile years. Further, the juvenile court’s finding
that Samuel was unfit was supported by the record.
   Because the State needed to prove only one basis for termi-
nation, and did so here, we need not further analyze Samuel’s
claim that the State made insufficient efforts to preserve and
reunify the family under § 42-292(6). See In re Interest of Sir
Messiah T. et al., supra.                       CONCLUSION
   The juvenile court did not deny Samuel procedural due
process, and it did not err when it determined that terminat-
ing Samuel’s parental rights to Taeson was appropriate under
§ 43-292(2) and (7) and was in the best interests of Taeson.
Accordingly, we affirm.
                                                 Affirmed.
